Case: 1:22-cv-01371-JPC Doc #:1 Filed: 08/04/22 1o0f9. PagelD #: 1

IN THE UNITED STATES DISTRICT COURT
FOR THE
NORTHERN DISTRICT OF OHIO

1:22 CM 1371

 

 

 

Michael L. Williamson, ) “er —.

Plaintiff, j CIVIL CASE NO.
VS. AUG 04 207? )

SERIES 42 U.S.C. § 1983
CLEVELAND COMPLAINT
Rachael Wheeler, et al., ) (JURY. ‘TRIAL DEMAND)
Annette Chambers-Smith, — )
JUDGE CALABRESE
Defendant{s).
MAG. JUDGE BAUGHMAN

I. Previous Lawsuits

Be

Have you begun other lawsuits in state or federal court dealing with the same facts
involved in this action or otherwise relating to your imprisonment? Yes

Parties to this previous lawsuit:

Plaintiff, Michael L. Williamosn

Defendants, Karen Slusher, Trinty Floyd, Timothy Milligan, Alfred Granson, Kelly
Rose, Shelia Jordan, Maggie Bradshaw, Lt. . . Spears, John Doe 1, and Christo
Montgomery.

Court, United States District Court for the Northern District of Ohio

Docket Number; 1 :17cv106-SO-DAR

Judge: Solom Oliver Jr., C.Je

Disposition, Case was dismissed and appealed.

Approximate: date of filing lawsuit was January 13, 2017.

Approximate: date of disposition was October 31, 2017
Case: 1:22-cv-01371-JPC Doc #:1 Filed: 08/04/22 2 of 9. PagelD #: 2

B. Other Federal Filings

i(a).

2(a).
3{a).
4{a).
5{a).

6(a).

7(a).

1(b).

2(b).
3{b).
4(b).
5(b).
6(b).

7(b).

Parties to lawsuit:

Petitioner, Michael L, Williamosn

Respondent, James Haviland

Court; United States District Court for the Northern District of Ohio
Docket Number: 1 :04CV629

Judge: John M. Manos

Disposition: Denied

Approximate. date of filing was April 1, 2004
Approximate: date of disposition was February 6, 2006

Parties to lawsuit;

Petitioner; Michael L. Williamosn

Respondent, Dave Marquis

Court, United States District Court for the Northern District of Ohio
Docket Number: 1:18CV472

Judge: Jeffery Helmick

Disposition: Dismissed in part, denied in part, and appealed
Approximate; date of filing was February 28, 2018

Approximate: date of disposition was November 6, 2018,
Case: 1:22-cv-01371-JPC Doc #:1 Filed: 08/04/22 3 0f 9. PagelD #: 3

Tt. Place of Present Confinement: Richland Correctional Institution.
A. Is there a prisoner grievance procedure in this institution? YES,
D. Did you present the facts relating to your complaint in the state prisoner
grievance procedure? YES,
Cc. If your answer is yes,
1. I filed first the informal complaint, then I filed the grievance, then
the appeal. (copy attached, Ref.# RICT0522004128), 1of3 pg's., as Ex. D

2. What was the result? The Informal Complaint/Grievance/Appeal was denied
and affirmed.

D. If your answer is NO, explain why not: N/A
E. If there is no prison grievance procedure in the institution, did you com-
plain to prison authorities? N/A
F. If your answer is YES,
1. What steps did you take? N/A
2. What was the result? N/A
Til. Parties:
A. Name of the Plaintiff: Michael L. Williamson.

Address: Richland Correctional Institution, 1001 Olivesburg Rd., Mansfield,
Ohio, 44905,

B. Defendant: Rachael Wheeler is employed as a licensed nurse practitioner
at Richland Correctional Institution, 1001 Olivesburg Rd., Mans-
field, Ohio 44905. .

C. Additional Defendants: Annette Chambers-Smith, Director of the Ohio Depart~
ment of Rehabilitation and Corrections 4545 Fisher Rd., Suite
D, Columbus Ohio 43228,
IV. Statement of Claim
1. Michael L. Williamosn, a prisoner of the State of Ohio at Richland
Correctional Institution, is the plaintiff herein, and Rachael wheeler
("defendant Wheeler"), a licensed practical nurse ("LPN") employed by the

Ohio Department of Rehabilitation and Corrections at Richland Correctional
Case: 1:22-cv-01371-JPC Doc #:1 Filed: 08/04/22 4 of 9. PagelD #: 4

Institution and Annette Chambers-Smith ("defendant Chambers-Smith"), director
of the Ohio Department of Rehabilitation and Correction, are the defendants.
Defendant Wheeler is being sued in both her individual/personal and official
capacities. Defendant Chambers-Smith is being sued in her official capacity.
2. On February 29, 2012, Plaintiff suffered an injury to his left leg. The
injury resulted in a metal plate and twelve (12) screws and rods being
installed in plaintiff's leg, leaving him permanently disabled and unable

to stand for any more than five minutes without extreme pain.

3. As a result of plaintiff's injury, plaintiff was wheelchair bound for app-
roximately 2 years.

4. To assist plaintiff in his physical well being, plaintiff was prescribed
an orthopedic mobility device, called a "rollator," by Dr. Granson while
incarcerated in the Marion Correctional Institution.

4, Dr. Granson advised plaintiff that the rollator, which has a built-in seat,
was to assist him in his mobility and to provide a seat when needed to alevaite
any pain plaintiff may be experiencing while standing or walking. Dr. Granson
_ further advised plaintiff that plaintiff would need the assistance of the
rollator to help aleviate the pain when standing or walking for the rest of
his life.

6, In September of 2015, plaintiff was transferred to Richland Correctional
Institution, where defendant Wheeler is employed as a LPN.

7. Defendant Wheeler's authority, under color of State law, is codified within
Ohio Revised Codes 4723 et seg., and 5120 et.seq., Ohio. Administrative Code

5120 et _seg., and Policy Number 68-MED-01 (applicable through OAC 5120.01).

 

Defendant Wheeler is not a doctor and, pursuant to State law and Administrative
Code, defendant Wheeler has no legal authority to rescind a doctor's pre-

scription.
Case: 1:22-cv-01371-JPC Doc #:1 Filed: 08/04/22 5 of 9. PagelD #: 5

8. Plaintiff (who is obese) is a recipient of "Chronic Care" treatment where,
approximately every 3 to 6 months, he is reevaluated for any adjustments to
his Blood-Presure medications.

9. Sometime after April 26, 2022, plaintiff went to the infirmary to resolve
an issue with his rollator which was in need of replacement. Plaintiff spoke
with a Mr. Gillespie, who offered plaintiff a very small replacement rollator.
Plaintiff advised Mr. Gillespie that, due to plaintiff's weight and size,

he could not sit or fit in the smaller rollator. Mr. Gillespie agreed, and
told plaintiff that an order would have to be placed for a larger rollator-
all while Mr. Gillespie complained about the additional costs of a larger
rollator, Plaintiff, after speaking with Mr. Gillespie, returned to his
housing unit.

10. Approximately two weeks later on May 12, 2022, plaintiff received a doctor
sick call pass (mandatory), to see nurse Wheeler for his scheduled chrinic
care appointment. Upon plaintiff's arrival, he was seated in the waiting area
located at the north end of the infirmary. Plaintiff was then called to the
nurses benches, located in a corridor that runs east and west, where a nurse
took his temperature and blood pressure, Defendant Wheeler's office is located
at the west end of the corridor with a full view of the eastward corridor,

14. Defendant Wheeler called plaintiff into her office. Plaintiff, rollator
in hand, walked into defendant Wheeler's office and handed her his medication.
Defendant Wheeler quickly glanced at the medication but almost immediately
turned her attention to plaintiff and his rollator.

12, Defendant Wheeler, in a flat and cold tone, asked plaintiff why he had
a rollator? Plaintiff explained that it was prescribed to him by a doctor
after suffering a leg injury. Defendant Wheeler asked plaintiff to pull up
his pants leg so she could see the lower part of his scar-which runs from

the lower calf to his knee, Defendant stated,while she observed plaintiff,

5
Case: 1:22-cv-01371-JPC Doc #:1 Filed: 08/04/22 6 of 9. PagelD #: 6

he was not "using it (the rollator) right." However, there is no right or
wrong way to walk behind a rollator, and the only misuse of the rollator is
to sit on it and roll as advised on the warning sticker. Defendant Wheeler
then stated "YOU ARE HEALED, I'M TAKING THE ROLLATOR."

13. Plaintiff, literally, begged defendant Wheeler at least 13 times not to
take his rollator from him - citing that he was disabled and could not walk
for long distances or stand in the long lines at the institution (lines in-
clude, but are not limited to: chow, commissary, legal mail pick-up, package
pick-up, library/copies, med-pick-up, fresh favorite pick-up, fundraiser
pick-up) that last, generally, 15 minutes to upwards of 2 hours, without
experiencing pain. Defendant Wheeler then, with a smirk on her face, said,
"Are you done? Okay, well, we are done here. Do you want a cane?“Plaintiff
accepted the useless cane and was told to return to his housing unit.

14. Upon arriving back at his housing unit, plaintiff sent an electronic kite
to the medical department complaining about defendant Wheeler's wrongful,
unnecessary, and deliberate indifferent conduct. The kite was answered by
Shawn Shelton, (administrator), stating that the rollators are bad for back
and hips, and notified plaintiff that if he was unhappy with her (Wheeler's)
decision he would schedule plaintiff for a second opinion. Regardless, plain-
tiff did not complain of back or hip pain from the use of his rollator and
as Ms, Burkhart noted, plaintiff's "gate" is straight. (See exhibit B ,
kits and responses),

15, On May 16, 2022, plaintiff was called to the infirmary to receive x-rays
of his back and hips. plaintiff then returned to his housing unit and sent
a kite to the medical department questioning why x-rays were taken of his
back and hips; explaining that he suffered injury to his leg not his back
and hips. The kite was answered by Shelton and moot by the time it was

answered,
Case: 1:22-cv-01371-JPC Doc #:1 Filed: 08/04/22 7 of 9. PagelD #: 7

16. On or about May 23, 2022, plaintiff was called to the infirmary for a
second set of x-rays on his leg, Prior to being x-rayed plaintiff was seen
by "Ms. 0.," another licensed practical nurse (this WAS NOT plaintiff's
"second-opinion" appointment), whom inquired as to why plaintiff was getting
an x-ray on his leg. Plaintiff explained ail of the above to Ms. 0., who then
told plaintiff to sit on the exam table, Ms. 0O., then observed plaintiff's
leg and squeezed plaintiff's calf-which plaintiff had a painful reaction.
Plaintiff was then called for his x-ray. After being x-rayed, MS, O called
plaintiff back into her office where she gave plaintiff back his rollator.

Ms. O stated that she wanted plaintiff to loose weight as a condition of
plaintiff having the rollator and told him that she wanted to see him in 30
days. However, in spite of Ms, O's kindness, plaintiff's weight was not a
condition to the rollator's original prescription, and should not be now or
ever. Plaintiff then returned to his housing unit.

17. Unknown to plaintiff, at the time, sometime between May 23, 2022, and June
16, 2022, when plaintiff was to receive his "second opinion," presumably from
Ms. ©., Ms, O either quit or was fired from Richland Correctional Institution.
Plaintiff submits that, if Ms. O was fired, it was because she treated inmates
with courtesy and dignity and not with deliberate indifference. And, if Ms.

O quit, it was because she refused to be deliberate indifferent instead of
courtious and humane.

18. On June 15, 2022 plaintiff received a medical pass for June 16, 2022. This
medical pass is presumed to have been for the "second opinion" although not
specified thereon, (See exhibit C.., medical pass),

19, On June 16, 2022, plaintiff went to the infirmary for his "second opinion".
After being seated in the waiting room area, and after vitals were taken in

the corridor where the nurses offices are located, plaintiff was called to

defendant Wheeler's office. Without any examination or question, defendant

4
Case: 1:22-cv-01371-JPC Doc #:1 Filed: 08/04/22 8 of 9. PagelD #: 8

Wheeler stated, "Ms. O should never have given the rollator back to you,"
and immediately made plaintiff give up his rollator. And again, with full
knowledge that plaintiff relied on his rollator for mobility and pain man~
agement, defendant Wheeler, smiling, offered plaintiff a cane and ordered
him back to his housing unit.

20. Upon arriving at his housing unit, plaintiff sent another kite to the
medical department asking again for a specific reason why his rollator was
wrongfully taken? The kite was answered, citing that the second x-ray showed
that plaintiff's hardware in his leg, were "secure" and "in place," (See
exhibit D, kite and answer), However, the fact that plaintiff's hardware
are secure and in place does not mean that plaintiff does not experience
pain when walking or standing for more than 5 minutes.

21. Plaintiff pursued and exhausted his administrative remedy by informal
complaint. The complaint was denied by the institution's medical department;
appeal was fruitless citing no authority over medical; and all decisions were
affirmed by the D.R.C., in Columbus, citing pins in the reviewer's own foot.
(See exhibit P_ Informal Complaint/Grievance history).

23.Defendant Wheeler's unlawful conduct of seizing plaintiff's rollator has
erected barriers to access of all institutional services as described in

paragraph 13 of the complaint, in violation of the Americans-With Disabilities

 

Act (ADA), 42.U.S.C. §-12131, 12132.

24. Defendant Chambers-Smith as the direct of the D.R.C., whose authority under
State law is pursuant to R.C, 5120. et seq., while not directly involved with
defendant Wheeler's aforementioned conduct, is responsible as a respondeat

superior to enforce the relief to be requested by plaintiff, is granted.

Relief Requested

Plaintiff prays that the court grant the following relief:
1.

Case: 1:22-cv-01371-JPC Doc #:1 Filed: 08/04/22 9 of 9. PagelD #: 9

As to defendant Wheeler, in her official capacity, grant plaintiff a per-
manent injunction to prohibiting defendant Wheeler from rescinding plaintiff's
prescribed rollator, protecting the rollator from seizure by Defendant Wheeler.

As to defendant Wheeler, in her individual/personal capacity, grant
plaintiff the sum of Five Hundred Thousand Dollars, ($500,000.00), plus
One Hundred dollars ($100.00), per day that plaintiff was/is without his
prescribed rollator.

As to defendant Chambers-Smith, in her official capacity, grant plaintiff
a permanent injunction prohibiting the seizure of plaintiff's rollator by
any and all employees of the Ohio Department of Rehabilitation and Corr-

ections for the duration of plaintiff's incarceration.
Signed this 4 day of Ais ysl -.. , 2022,
a”

I declare under penalty of perjury that the foregoing is true and correct,

        

F - A- JOH) bbl i bik bles
(Date) (Signature of Plaintiff)
